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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


                                                                       )
In re:                                                                 )   Chapter 11
                                                                       )
AMERICAN PHYSICIAN PARTNERS, LLC, et al.,1                             )   Case No. 23-11469 (BLS)
                                                                       )
                                     Debtors.                          )   (Jointly Administered)
                                                                       )   Docket Ref No. 6

          INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO (A) CONTINUE
             OPERATING CASH MANAGEMENT SYSTEM, (B) HONOR AND
             PAY BANK FEES, (C) MAINTAIN EXISTING BUSINESS FORMS,
     (II) SCHEDULING A FINAL HEARING, AND (III) GRANTING RELATED RELIEF

                    Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors

and debtors-in-possession (collectively, the “Debtors”), seeking entry of an interim order (this

“Interim Order”), pursuant to sections 105, 345, and 363 of the Bankruptcy Code, Rules 6003 and

6004 of the Bankruptcy Rules, and Rule 2015-2 of the Local Rules, (i) authorizing the Debtors to

(a) continue operating the Cash Management System and perform intercompany transactions and

honor intercompany claims; (b) honor and pay the Bank Fees in the normal course, including any

prepetition Bank Fees; and (c) maintain Business Forms, and (ii) granting certain related relief, all

as more fully set forth in the Motion; and upon consideration of the First Day Declaration; and this

Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and this Court having found that this is a core proceeding pursuant to 28


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 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of American
Physician Partners, LLC’s principal place of business and the Debtors’ service address in these chapter 11 cases is
5121 Maryland Way, Suite 300, Brentwood, TN 37027.
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    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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U.S.C. § 157(b)(2), and this Court having found that venue of this proceeding and the Motion in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate

under the circumstances and no other notice need be provided; and this Court having reviewed the

Motion and having heard the statements in support of the relief requested therein at an interim

hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

herein; and upon all of the proceedings had before this Court; and after due deliberation and

sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

               1.      The Motion is granted on an interim basis, as set forth in this Interim Order.

               2.      The final hearing (the “Final Hearing”) on the Motion shall be held on

October 18, 2023, at 11:00 a.m., prevailing Eastern Time. Any objections or responses to entry of

a final order on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on

October 11, 2023. In the event no objections to entry of a final order on the Motion are timely

received, this Court may enter such final order without need for the Final Hearing.

               3.      Subject to terms and conditions of this Interim Order, the Debtors are

authorized, but not directed, to: (a) continue operating the Cash Management System, substantially

as identified on Exhibit C to the Motion and as described in the Motion; (b) honor their prepetition

obligations related thereto; (c) use, in their present form, all intercompany checks and without

reference to the Debtors’ status as debtors in possession; (d) continue to perform Intercompany

Transactions with the Debtor entities and honor any intercompany claims which may arise



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therefrom; (e) continue to use, with the same account numbers, the Bank Accounts in existence as

of the Petition Date, including those accounts identified on Exhibit D to the Motion; (f) treat the

Debtor Bank Accounts for all purposes as accounts of the Debtors as debtors in possession; (g)

deposit funds in and withdraw funds from the Bank Accounts by all usual means, including checks,

wire transfers, and other debits; (h) pay the Bank Fees and, including any prepetition amounts and

any ordinary course Bank Fees incurred in connection with the Bank Accounts and to otherwise

perform their obligations under the documents governing the Bank Accounts; provided that in the

case of each of (a) through (h), such action is taken in the ordinary course of business and

consistent with historical practices.

               4.      The Banks are authorized to continue to maintain, service, and administer

the Bank Accounts as accounts of the Debtors as debtors in possession, without interruption and

in the ordinary course of business consistent with historical practices, and to receive, process,

honor, and pay, to the extent of available funds, any and all checks, drafts, wires, credit card

payments, and ACH transfers issued and drawn on the Bank Accounts after the Petition Date by

the holders or makers thereof, as the case may be, and all such Banks and financial institutions are

authorized to rely on the Debtors’ designation of any particular check or electronic payment

request as approved by this Interim Order. The Banks shall not honor any check, draft, or other

payment item issued prepetition by the Debtors unless instructed or requested by the Debtors,

provided that the Debtors shall only instruct or request any Bank to pay or honor any check, draft,

or other payment item issued on a Bank Account prior to the Petition Date but presented to such

Bank for payment after the Petition Date as authorized by an order of the Court.



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                 5.    The Banks are authorized to debit the Debtors’ accounts in the ordinary

course of business, consistent with historical practices, without the need for further order of this

Court for: (a) all checks drawn on the Debtors’ accounts which are cashed at the Banks’ counters

or exchanged for cashier’s checks by the payees thereof prior to the Petition Date; (b) all checks

or other items deposited in one of Debtors’ accounts with such Banks prior to the Petition Date

which have been dishonored or returned unpaid for any reason, together with any fees and costs in

connection therewith, to the same extent the Debtor was responsible for such items prior to the

Petition Date; and (c) all undisputed prepetition amounts outstanding as of the date hereof, if any,

owed to any Bank as service charges for the maintenance of the Cash Management System.

                 6.    Any existing agreements between or among the Debtors, the Banks, and

other parties shall continue to govern the postpetition cash management relationship between the

Debtors and the Banks, and all of the provisions of such agreements, including, without limitation,

the termination, fee provisions, rights, benefits, offset rights, and remedies afforded under such

agreements shall remain in full force and effect unless otherwise ordered by the Court, and the

Debtors and the Banks may agree to and implement changes to the Cash Management System and

cash management procedures in the ordinary course of business in a manner consistent with

historical practices and the Debtors’ prepetition secured debt agreements, including, without

limitation, the opening and closing of bank accounts, subject to the terms and conditions of this

Interim Order.

                 7.    To the extent any of the Debtors’ Bank Accounts are not in compliance with

section 345(b) of the Bankruptcy Code or any of the U.S. Trustee’s requirements or guidelines,



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the Debtors shall have until a date that is thirty (30) days from the Petition Date, without prejudice

to seeking an additional extension, to either come into compliance with section 345(b) of the

Bankruptcy Code and any of the U.S. Trustee’s requirements or guidelines or to make such other

arrangements as are agreed to by the U.S. Trustee or approved by the Court; provided that nothing

herein shall prevent the Debtors or the U.S. Trustee from seeking further relief from the Court to

the extent that an agreement cannot be reached. The U.S. Trustee's and the Debtors’ rights to seek

further relief from this Court on notice in the event that the applicable Bank is unwilling to execute

a Uniform Depository Agreement in a form prescribed by the U.S. Trustee are fully reserved.

               8.      For any Bank at which the Debtors hold Bank Accounts that are party to a

Uniform Depository Agreement with the U.S. Trustee, as soon as possible, the Debtors shall (a)

contact such Bank, (b) provide such Bank with each of the Debtors’ employer identification

numbers, and (c) identify each of their Bank Accounts held at such Bank as being held by a debtor

in possession in the Debtors’ bankruptcy cases. For any Bank at which the Debtors hold Bank

Accounts that are not party to a Uniform Depository Agreement with the U.S. Trustee, the Debtors

shall use their good-faith efforts to cause such Bank to execute a Uniform Depository agreement

in a form prescribed by the U.S. Trustee within thirty (30) days of the date of the Petition Date.

               9.      Subject to the terms hereof, the Debtors are authorized, but not directed, in

the ordinary course of business consistent with historical practices and the Debtors’ prepetition

secured debt agreements, to open any new bank accounts or close any existing Bank Accounts and

enter into any ancillary agreements, including deposit account control agreements, related to the

foregoing, as they may deem necessary and appropriate, provided that the Debtors give notice to



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the U.S. Trustee and any official committees appointed in these chapter 11 cases within 15 days

of opening or closing a bank account. The relief granted in this Interim Order is extended to any

new bank account opened by the Debtors in the ordinary course of business after the date hereof,

which account shall be deemed a “Bank Account,” and to the bank at which such account is

opened, which bank shall be deemed a “Bank,” provided that any new bank account opened by the

Debtors shall be established at an institution that is a party to a Uniform Depository Agreement

with the U.S. Trustee or is willing to immediately execute such a Uniform Depository Agreement.

               10.     All Banks maintaining any of the Bank Accounts that are provided with

notice of this Interim Order shall not honor or pay any bank payments drawn on the listed Bank

Accounts or otherwise issued before the Petition Date; provided, however, that any such Bank

shall not be found to be in violation of this Interim Order nor liable to the Debtors or their estates

should any such Bank honor or pay any bank payment (a) in a good faith belief that the Court has

authorized such payment to be honored, or (b) as the result of a mistake made despite

implementation of customary item handling procedures.

               11.     The Banks are authorized, without further order of this Court, to deduct any

applicable fees from the applicable Bank Accounts in the ordinary course of business consistent

with historical practices and pursuant to the applicable agreements governing each Bank Account.

               12.     The Banks are authorized, without further order of this Court, to charge

back to the appropriate accounts of the Debtors any amounts resulting from returned checks or

other returned items, including returned items that result from ACH transactions, wire transfers,

or other electronic transfers of any kind, regardless of whether such returned items were deposited



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or transferred prepetition or postpetition and regardless of whether the returned items relate to

prepetition or postpetition items or transfers, including, without limitation, on account of checks

that have been dishonored or returned as a result of insufficient funds in the Bank Accounts, in

each case to the same extent the Debtors were responsible for such items prior to the Petition Date.

                13.      Subject to the terms set forth herein, the Banks, may rely upon the

representations of the Debtors with respect to whether any check, draft, wire, or other transfer

drawn or issued by the Debtors prior to the Petition Date should be honored pursuant to any order

of this Court, and no Bank that honors a prepetition check or other item drawn on any account that

is the subject of this Interim Order (a) at the direction of the Debtors, (b) in a good-faith belief that

this Court has authorized such prepetition check or item to be honored, or (c) as a result of a

mistake made despite implementation of reasonable customary handling procedures, shall be

deemed to be nor shall be liable to the Debtors, their estates, or any other party on account of such

prepetition check or other item being honored postpetition, or otherwise deemed to be in violation

of this Interim Order.

                14.      The Banks are further authorized to honor the Debtors’ direction with

respect to the opening and closing of any Bank Account and accept and hold, or invest, the

Debtors’ funds in accordance with the Debtors’ instructions; provided that the Banks shall not

have any liability to any party for relying on such representations to the extent such reliance

otherwise complies with applicable law.

                15.      The Debtors are authorized, but not directed, to continue engaging in

Intercompany Transactions between Debtor entities in connection with the Cash Management



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System in the ordinary course of business, consistent with prepetition practice. The Debtors shall

maintain records of all Intercompany Transactions in accordance with prepetition practice.

                 16.    All postpetition payments from a Debtor to another Debtor under any

postpetition Intercompany Transactions authorized hereunder that result in an intercompany claim

are hereby accorded administrative expense status under section 503(b) of the Bankruptcy Code.

                 17.    Nothing contained in the Motion or this Interim Order shall be construed to

(a) create or perfect, in favor of any person or entity, any interest in cash of a Debtor that did not

exist as of the Petition Date or (b) alter or impair the validity, priority, enforceability, or perfection

of any security interest or lien or setoff right, in favor of any person or entity, that existed as of the

Petition Date.

                 18.    Nothing contained in the Motion or this Interim Order, and no action taken

pursuant to the relief requested or granted (including any payment made in accordance with this

Interim Order), is intended as or shall be construed or deemed to be: (a) an admission as to the

amount of, basis for, or validity of any claim against the Debtors under the Bankruptcy Code or

other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s

right to dispute any claim on any grounds; (c) a promise or requirement to pay any particular claim;

(d) an implication, admission or finding that any particular claim is an administrative expense

claim, other priority claim or otherwise of a type specified or defined in the Motion or this Interim

Order; (e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease

pursuant to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority,

enforceability or perfection of any lien on, security interest in, or other encumbrance on property



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of the Debtors’ estates; or (g) a waiver or limitation of any claims, causes of action or other rights

of the Debtors or any other party in interest against any person or entity under the Bankruptcy

Code or any other applicable law.

               19.     The Debtors are authorized, but not directed, to issue postpetition checks,

or to effect postpetition fund transfer requests, in replacement of any checks or fund transfer

requests that are dishonored as a consequence of these chapter 11 cases with respect to prepetition

amounts owed in connection with the relief granted herein.

               20.     The Debtors have demonstrated that the requested relief is “necessary to

avoid immediate and irreparable harm,” as contemplated by Bankruptcy Rule 6003.

               21.     Notice of the Motion as provided therein shall be deemed good and

sufficient notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local

Rules are satisfied by such notice.

               22.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

Interim Order are immediately effective and enforceable upon its entry.

               23.     The Debtors are authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

               24.     This Court retains exclusive jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Interim Order.




Dated: September 21st, 2023                      BRENDAN L. SHANNON
Wilmington, Delaware                             UNITED STATES BANKRUPTCY JUDGE




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